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                                        ATTACHMENT 1

     PENDING OR CONCURRENT BANKRUPTCY CASES FILED BY AFFILIATES

        On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed a voluntary petition for relief under title 11 of the United States Code in
the United States Bankruptcy Court for the Northern District of Alabama. A motion has been
filed with the Court requesting that the chapter 11 cases of these entities be jointly administered.

Entity Name                                     Case Number               Judge
Atlantic Development and Capital, LLC           Not Yet Assigned          Not Yet Assigned
Atlantic Leaseco, LLC                           Not Yet Assigned          Not Yet Assigned
Blue Creek Coal Sales, Inc.                     Not Yet Assigned          Not Yet Assigned
Blue Creek Energy, Inc.                         Not Yet Assigned          Not Yet Assigned
J.W. Walter, Inc.                               Not Yet Assigned          Not Yet Assigned
Jefferson Warrior Railroad Company, Inc.        Not Yet Assigned          Not Yet Assigned
Jim Walter Homes, LLC                           Not Yet Assigned          Not Yet Assigned
Jim Walter Resources, Inc.                      Not Yet Assigned          Not Yet Assigned
Maple Coal Co., LLC                             Not Yet Assigned          Not Yet Assigned
Sloss-Sheffield Steel & Iron Company            Not Yet Assigned          Not Yet Assigned
SP Machine, Inc.                                Not Yet Assigned          Not Yet Assigned
Taft Coal Sales & Associates, Inc.              Not Yet Assigned          Not Yet Assigned
Tuscaloosa Resources, Inc.                      Not Yet Assigned          Not Yet Assigned
V Manufacturing Company                         Not Yet Assigned          Not Yet Assigned
Walter Black Warrior Basin LLC                  Not Yet Assigned          Not Yet Assigned
Walter Coke, Inc.                               Not Yet Assigned          Not Yet Assigned
Walter Energy Holdings, LLC                     Not Yet Assigned          Not Yet Assigned
Walter Energy, Inc.                             Not Yet Assigned          Not Yet Assigned
Walter Exploration & Production LLC             Not Yet Assigned          Not Yet Assigned
Walter Home Improvement, Inc.                   Not Yet Assigned          Not Yet Assigned
Walter Land Company                             Not Yet Assigned          Not Yet Assigned
Walter Minerals, Inc.                           Not Yet Assigned          Not Yet Assigned
Walter Natural Gas, LLC                         Not Yet Assigned          Not Yet Assigned




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B 1A (Official Form 1, Exhibit A) (9/97)
[If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit “A” shall be completed and attached to the petition.]

                                    UNITED STATES BANKRUPTCY COURT
                                                       Northern District
                                                    __________   Districtof of
                                                                            Alabama
                                                                               __________
                                                                 Southern Division

In re       Walter Energy, Inc.                                              ,               )      Case No.
                                           Debtor                                            )
                                                                                             )
                                                                                             )      Chapter 11


                                            EXHIBIT “A” TO VOLUNTARY PETITION
      1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the
SEC file number is 001-13711                             .

         2. The following financial data is the latest available information and refers to the debtor’s condition on
March 31, 2015                  .

         a. Total assets                                                                     $            5,202,437.00
         b. Total debts (including debts listed in 2.c., below)                              $            5,005,288.00

         c. Debt securities held by more than 500 holders:                                                         Approximate
                                                                                                                    number of
                                                                                                                     holders:

         secured      u       unsecured u           subordinated u               $
         secured      u       unsecured u           subordinated u               $
         secured      u       unsecured u           subordinated u               $
         secured      u       unsecured u           subordinated u               $
         secured      u       unsecured u           subordinated u               $

         d. Number of shares of preferred stock
         e. Number of shares common stock                                                    80,746,088                      36,000
            Comments, if any:
        Information regarding number of shares of common stock, the approximate number of holders of such common stock, and the persons
        identified in the response to Question 4 below is based on information known to the Debtor as of close of business on March 3, 2015, the
        record date for the Company's 2015 annual meeting of shareholders. Number of shares common stock is as of April 30, 2015.
        Approximate number of holders refers to the number of beneficial holders.

         3. Brief description of debtor’s business:
        The debtor, through its subsidiary companies, is a leading producer and exporter of metallurgical coal for the global steel industry from
        underground and surface mines with mineral reserves located in the United States, Canada and the United Kingdom. The debtor, through
        its subsidiary companies, also extracts, processes, markets and possesses mineral reserves of thermal coal and anthracite coal, as well
        as produces metallurgical coke and coal bed methane gas.

         4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or
more of the voting securities of debtor:




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                                 WALTER ENERGY, INC.

                                  Certificate of Secretary

           The undersigned, Earl H. Doppelt, hereby certifies that he is the duly elected,
   qualified and acting Secretary of Walter Energy, Inc., a Delaware corporation (the
   “Company”), and further certifies, solely in such capacity and not in his individual
   capacity, as follows:

           1.     Attached hereto as Exhibit A is a true, complete, and correct copy of the
   resolutions of the board of directors of the Company (the “Board of Directors”) duly
   adopted at a properly convened meeting of the Board of Directors on July 14, 2015, in
   accordance with the bylaws of the Company.

          2.       Such resolutions have not been amended or revoked and are in full force
   and effect on the date hereof.

                                  [Signature Page Follows]




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                                    Exhibit A




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                RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                          WALTER ENERGY, INC.


             WHEREAS, the Board of Directors of Walter Energy, Inc., a Delaware
      corporation has reviewed and considered the materials prepared and presented by
      the Company’s management team and its financial and legal advisors regarding
      the Company’s liabilities and liquidity, the strategic alternatives available to it,
      and the impact of the foregoing on the Company’s business; and

            WHEREAS, the Board has consulted with the Company’s management
      team and its financial and legal advisors, and fully considered each of the
      Company’s strategic alternatives available to it;

              NOW, THEREFORE, BE IT RESOLVED, by the Board that in the
      judgment of the Board, it is desirable and in the best interests of the Company, its
      creditors and other interested parties for the Company to file a voluntary petition
      (the “Petition”) for relief under the provisions of chapter 11 of title 11 of the
      United States Code (the “Bankruptcy Code”) in the United States Bankruptcy
      Court for the Northern District of Alabama (the “Bankruptcy Court”); and be it
      further

              RESOLVED, that the Company shall be, and it hereby is, authorized,
      directed and empowered (i) to file the Petition, and (ii) to perform any and all
      such acts as are reasonable, advisable, expedient, convenient, proper or necessary
      to effect any of the foregoing; and be it further

             RESOLVED, that each of the Chief Executive Officer, Chief Financial
      Officer, Chief Commercial Officer, Chief Audit Officer, Chief Accounting
      Officer, General Counsel, Secretary, Treasurer, and Vice Presidents (each
      individually a “Designated Officer” and collectively, the “Designated Officers”)
      be, and each of them hereby is, authorized, directed and empowered, on behalf of
      and in the name of the Company (i) to execute and verify the Petition as well as
      all other ancillary documents and to cause the Petition to be filed with the
      Bankruptcy Court and to make or cause to be made prior to the execution thereof
      any modifications to the Petition or ancillary documents as such Designated
      Officers, in their sole discretion, deem necessary or desirable, and (ii) to execute,
      verify and file or cause to be filed all petitions, schedules, lists, motions,
      applications, pleadings, and other papers or documents necessary or desirable in
      connection with the foregoing; and be it further

             RESOLVED, that each of the Designated Officers be, and each of them
      hereby is, authorized, directed and empowered, on behalf of and in the name of
      the Company in its capacity as sole member of each of the limited liability
      companies listed on Schedule 1 to these resolutions (collectively, the “Subsidiary
      LLCs”) to take any and all actions as may be reasonable, advisable, expedient,




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      convenient, proper or necessary to cause each of the Subsidiary LLCs to file a
      voluntary petition for relief under the provisions of chapter 11 of the Bankruptcy
      Code in the Bankruptcy Court, including but not limited to (i) the filing of any
      petitions, schedules, lists, motions, applications, pleadings, and other papers or
      documents necessary or desirable in connection with the foregoing, and (ii) the
      employment of counsel, financial advisors, investment bankers, accountants, and
      other professionals in connection with the foregoing, and in furtherance of such
      filings, to authorize and consent to, on behalf of the Company in its capacity as
      sole member of each of such Subsidiary LLCs, the filing of such voluntary
      petitions for relief under the provisions of chapter 11 of the Bankruptcy Code in
      the Bankruptcy Court and ratifying, approving and confirming the actions of the
      managers of each of such Subsidiary LLCs in authorizing the same; and be it
      further

               RESOLVED, that each of the Designated Officers be, and each of them
      hereby is, authorized, directed and empowered, on behalf of and in the name of
      the Company in its capacity as sole shareholder of each of the corporations listed
      on Schedule 2 to these resolutions (collectively, the “Subsidiary Corporations”) to
      take any and all actions as may be reasonable, advisable, expedient, convenient,
      proper or necessary to cause each of the Subsidiary Corporations to file a
      voluntary petition for relief under the provisions of chapter 11 of the Bankruptcy
      Code in the Bankruptcy Court, including but not limited to (i) the filing of any
      petitions, schedules, lists, motions, applications, pleadings, and other papers or
      documents necessary or desirable in connection with the foregoing, and (ii) the
      employment of counsel, financial advisors, investment bankers, accountants, and
      other professionals in connection with the foregoing, and in furtherance of such
      filings, to authorize and consent to, on behalf of the Company in its capacity as
      sole shareholder of each of such Subsidiary Corporations, the filing of such
      voluntary petitions for relief under the provisions of chapter 11 of the Bankruptcy
      Code in the Bankruptcy Court and ratifying, approving and confirming the actions
      of the directors of each of such Subsidiary Corporations in authorizing the same;
      and be it further

              RESOLVED, that the law firm of Paul, Weiss, Rifkind, Wharton &
      Garrison (“Paul Weiss”) be, and hereby is, retained, authorized, empowered and
      directed to represent the Company as its counsel in connection with any case
      commenced by the Company under the Bankruptcy Code and all related matters;
      and be it further

            RESOLVED, that the law firm of Bradley Arant Boult Cummings LLP be,
      and hereby is, retained, authorized, empowered and directed to represent the
      Company, as co-counsel with Paul Weiss, in connection with any case
      commenced by the Company under the Bankruptcy Code; and be it further

              RESOLVED, that the law firm of Ogletree Deakins LLP be, and hereby is
      retained, authorized, empowered and directed to represent the Company as its




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      special counsel with respect to any labor and employment matters; and be it
      further

               RESOLVED, that the law firm of Maynard, Cooper & Gale, P.C. be, and
      hereby is retained, authorized, empowered and directed to represent the Company
      as its special counsel; and be it further

              RESOLVED, that Blackstone Advisory Services, L.P. be, and hereby is,
      retained, authorized, empowered and directed to represent the Company as its
      investment banker and financial advisor in connection with any case commenced
      by the Company under the Bankruptcy Code; and be it further

             RESOLVED, that AlixPartners, LLP be, and hereby is, retained,
      authorized, empowered and directed to represent the Company as its financial
      advisor and consultant in connection with any case commenced by the Company
      under the Bankruptcy Code; and be it further

              RESOLVED, that Kurtzman Carson Consultants LLC be, and hereby is,
      retained, authorized, empowered and directed to serve as the notice, claims,
      solicitation and balloting agent in connection with any case commenced by the
      Company under the Bankruptcy Code; and be it further

             RESOLVED, that the Designated Officers be, and they each hereby are,
      authorized to cause the Company to employ other special counsel, financial
      advisors, investment bankers, accountants and other professionals as such
      Designated Officers deem appropriate in connection with any case commenced by
      the Company under the Bankruptcy Code; and be it further

             RESOLVED, that in addition to the specific authorizations heretofore
      conferred upon the Designated Officers, each of the officers of the Company be,
      and each of them acting alone hereby is, authorized, directed and empowered, in
      the name and on behalf of the Company, to do or cause to be done any and all
      such further acts and things, including the payment of all fees and expenses and
      other amounts payable by the Company with respect to the foregoing, and to
      execute and deliver any and all such other instruments, certificates, agreements
      and documents as they or any of them may consider necessary or appropriate to
      enable the Company to carry out the intent and to accomplish the purpose of the
      foregoing resolutions; and be it further

              RESOLVED, that each and every officer of the Company be, and each of
      them acting alone, hereby is, authorized, directed and empowered from time to
      time in the name and on behalf of the Company, to (i) take all such further actions
      and execute and deliver all such certificates, instruments, guaranties, notices,
      agreements and other documents as may be required or as such officer may deem
      necessary, advisable or proper to carry out the intent and purpose of the foregoing
      resolutions, including, without limitation, the execution and delivery of any credit




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      or security agreements, pledges, financing statements and the like, and (ii)
      perform the obligations of the Company under the Bankruptcy Code, with all such
      actions to be performed in such manner, and all such certificates, instruments,
      guaranties, notices and documents to be executed and delivered in such form as
      the officer performing or executing the same shall approve, and the performance
      or execution thereof by such officer shall be conclusive evidence of the approval
      thereof by such officer and by the Company; and be it further

              RESOLVED, that all actions heretofore taken or performed by any officer,
      director, employee or agent of the Company in connection with the foregoing
      resolutions be, and they hereby are, confirmed, ratified and approved in all
      respects.




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                                        SCHEDULE 1

                                       Subsidiary LLCs

Walter Energy Holdings, LLC

Walter Natural Gas, LLC

Jim Walter Homes, LLC




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                                        SCHEDULE 2

                                   Subsidiary Corporations

Walter Coke, Inc.

Walter Minerals, Inc.

Jim Walter Resources, Inc.

Blue Creek Energy, Inc.

Blue Creek Coal Sales, Inc.

J.W. Walter, Inc.

Walter Land Company

Jefferson Warrior Railroad Company, Inc.

SP Machine, Inc.

V Manufacturing Company




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